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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION

  THE STATE OF TEXAS, et al.,

          Plaintiffs,

  v.                                                  Civil Action No. 4:20-cv-00957-SDJ

  GOOGLE LLC,

          Defendant.


                               DECLARATION OF NOAH HEINZ

        I, Noah Heinz, pursuant to 28 U.S.C. § 1746, hereby declare as follows:

        1.      I am an attorney at Keller Postman LLC, and I represent the State of Texas and

 certain other Plaintiff States in the above-captioned case.

        2.      I am an attorney admitted to practice in the District of Columbia. I have been

 admitted to appear pro hac vice in the above-captioned case.

        4.      I respectfully submit this Declaration in support of Plaintiff States’ Response in

 Opposition to Defendant Google LLC’s Motion for Dismissal Pursuant to Rule 12(b)(6), dated

 February 21, 2024.

        5.      Attached as Exhibit A to this Declaration is a true and correct copy of a certified

 translation of Aguadilla Paint Ctr., Inc. v. Standard Oil, 2011 TSPR 194, 183 P.R. Dec. 901 (2011).

        6.      I declare under penalty of perjury that the foregoing is true and correct.




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